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                                                                                                 of this notice                             
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                                                                                                 Principal, interest, and escrow, if any
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        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
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      Debtor 1                                Doc Filed            02/01/21 Entered 02/01/21
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              First Name       Middle Name        Last Name
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 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 8    /s/Jeremy Anthony
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      Signature
                                                                                    02/01/2021
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        Anthony, Jeremy                                                            VP Loan Documentation
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
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              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                                    Document
                       UNITED STATES BANKRUPTCY COURT            Page 3 of 7

                                                          Eastern District of Kentucky


                                                      Chapter 13 No. 1921076
                                                      Judge: Tracey N. Wise

In re:
Robert Mitchell Henson & Erin Marie Henson
                                             Debtor s 

                                             CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before February 02, 2021 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                               %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                       Robert Mitchell Henson & Erin Marie Henson
                                       10460 Blacksmith Place

                                       Florence KY 41042



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                                       N/A




Debtor’s Attorney:                    %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                       Robert Alfred Goering
                                       Goering & Goering LLC
                                       220 West Third Street

                                       Cincinnati OH 45202


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                                      N/A




Trustee:                              %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                       Beverly M. Burden

                                       PO Box 2204

                                       Lexington KY 40588

                                                              @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                              /s/Jeremy Anthony
                                                              VP Loan Documentation
                                                              Wells Fargo Bank, N.A.
Case 19-21076-tnw                     Doc           Filed 02/01/21 Entered 02/01/21 13:52:07                                                    Desc Main
                                                                  Page 4Escrow
                                                                         of 7 Review Statement
                                    Return Mail Operations
                                    PO Box 14547     Document           For informational purposes only
                                    Des Moines, IA 50306-4547
                                                                                              Statement Date:                                January 11, 2021
                                                                                              Loan number:
                                                                                              Property address:
                                                                                                   10460 BLACKSMITH PL
                                                                                                   FLORENCE KY 41042


                                                                                              Customer Service
                                                                                                    Online                          Telephone
                                                                                                    wellsfargo.com                  1-800-340-0473
             ROBERT M HENSON
                                                                                                    Correspondence                  Hours of operation
             ERIN M HENSON                                                                          PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
             10460 BLACKSMITH PL                                                                    Des Moines, IA 50306
             FLORENCE KY 41042-4773                                                                 To learn more, go to:
                                                                                                    wellsfargo.com/escrow


                                                                                                      We accept telecommunications relay service calls



   PLEASE NOTE: If you are presently seeking relief (or have previously been granted
   relief) under the United States Bankruptcy Code, this statement is being sent to you
   for informational purposes only. The summaries below are based on the terms of the
   loan and are provided for informational purposes only.
   These amounts are governed by the terms of the loan unless otherwise reduced by an
   order of the bankruptcy court. Because the amounts billed for the escrow items can
   change over time, we review the escrow account at least once per year to ensure there
   will be enough money to make these payments. Once the review is complete, we send
   the escrow review statement, also known as the escrow account disclosure statement.
                                                                                                The escrow account has a shortage of
   Here's what we found:
        • Required Minimum Balance: The escrow account balance is projected to                               $217.03
           fall below the required minimum balance. This means there is a shortage.

        •   Payments: As of the March 1, 2021 payment, the contractual portion of the
            escrow payment increases.



     Part 1 - Mortgage payment

            Option 1                Pay the shortage amount over 12 months
                                     Previous payment through New payment beginning with
                                     02/01/2021 payment date   the 03/01/2021 payment
                                                                                                   Option 1: No action required
    Principal and/or interest                   $775.90                  $775.90

    Escrow payment                             $293.03                    $315.17              Starting March 1, 2021 the new contractual
    Total payment amount
                                                                                               payment amount will be $1,091.07
                                            $1,068.93                 $1,091.07

            Option 2                Pay the shortage amount of $217.03
                                     Previous payment through New payment beginning with
                                     02/01/2021 payment date   the 03/01/2021 payment
                                                                                                   Option 2: Pay shortage in full
    Principal and/or interest                   $775.90                  $775.90

    Escrow payment                             $293.03                   $297.08               Starting March 1, 2021 the new contractual
    Total payment amount                                                                       payment amount will be $1,072.98
                                            $1,068.93                $1,072.98




                                                          See Page 2 for additional details.


                                           Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                           States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                           Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                           payments, please contact your attorney or the Trustee’s office before directly sending any
                                           amounts relating to this escrow shortage

                                                                     If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                     and mail it along with a check for $217.03 to the address that appears on this coupon.
     ROBERT M HENSON
     ERIN M HENSON                                                   This payment must be received no later than March 1, 2021.


                 Wells Fargo Home Mortgage
                 PO Box 14538
                 Des Moines, IA 50306-3538




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        Part 2 - Payment calculations
                                                 Page 5 of 7
   For the past review period, the amount of the escrow items was $3,565.03. For the coming year, we expect the amount paid from escrow to be
   $3,565.03.

   How was the escrow payment calculated?
   To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
   escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
   determine the escrow amount.

   The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
   through the date of the analysis.



   Escrow comparison

                                                                                                                                          New monthly
                                      03/19 - 02/20 09/19 - 08/20            03/20 - 01/21   03/21 - 02/22
                                                                                                                         # of               escrow
                                        (Actual)      (Actual)                 (Actual)       (Projected)
                                                                                                                        months              amount

   Property taxes                           $2,011.47         $2,011.47          $2,203.96      $2,203.96        ÷         12       =          $183.66
   Property insurance                       $1,408.91         $1,361.07          $1,361.07      $1,361.07        ÷         12       =           $113.42
   Total taxes and insurance               $3,420.38          $3,372.54          $3,565.03      $3,565.03        ÷         12       =          $297.08
   Escrow shortage                            $751.62            $0.00              $96.01        $217.03        ÷         12       =            $18.09**

   Total escrow                            $4,172.00          $3,372.54          $3,661.04      $3,782.06        ÷         12       =          $315.17


   **
    This amount is added to the payment if Option 1 on page 1 is selected.


   Projected escrow account activity over the next 12 months
   To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
   greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
   balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 3 - Escrow account projections
   Lowest projected escrow balance October, 2021                                   -$353.20          table)

   Bankruptcy adjustment‡                                              +           $730.33

   Minimum balance for the escrow account†                             -           $594.16           (Calculated as: $297.08 X 2 months)


   Escrow shortage                                                     =           -$217.03


   ‡
    This adjustment of $730.33, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
   confirmed bankruptcy plan.
   †
    The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
   account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
   contract to determine the cash reserve.
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                                                                                   Loan Number:
                                                                                                Desc    Main
                                                                                                 Page 3 of 3

                                                   Document     Page 6 of 7
     Part 3 - Escrow account projections
   Escrow account projections from March, 2021 to February, 2022
                                          What we
                 Payments to              expect to                                                                   Projected escrow        Balance required
   Date            escrow                  pay out         Description                                                    balance              in the account
   Feb 2021                                                Starting balance                                                  $835.19                    $1,782.55
   Mar 2021           $297.08                   $0.00                                                                       $1,132.27                   $2,079.63
   Apr 2021           $297.08                   $0.00                                                                       $1,429.35                   $2,376.71
   May 2021           $297.08                   $0.00                                                                       $1,726.43                   $2,673.79
   Jun 2021           $297.08                   $0.00                                                                      $2,023.51                    $2,970.87
   Jul 2021           $297.08                   $0.00                                                                      $2,320.59                    $3,267.95
   Aug 2021           $297.08                   $0.00                                                                       $2,617.67                   $3,565.03
   Sep 2021           $297.08                $1,361.07     METLIFE AUTO & HOME                                              $1,553.68                   $2,501.04
   Oct 2021           $297.08                $2,203.96     BOONE COUNTY (A)(S)                                              -$353.20                    $594.16
   Nov 2021           $297.08                   $0.00                                                                        -$56.12                     $891.24
   Dec 2021           $297.08                   $0.00                                                                        $240.96                    $1,188.32
   Jan 2022           $297.08                   $0.00                                                                        $538.04                    $1,485.40
   Feb 2022           $297.08                   $0.00                                                                        $835.12                    $1,782.48

   Totals           $3,564.96                $3,565.03



     Part 4 - Escrow account history
   Escrow account activity from March, 2020 to February, 2021
                         Deposits to escrow                  Payments from escrow                                                       Escrow balance
      Date      Actual      Projected Difference         Actual   Projected Difference                Description           Actual         Projected Difference
   Mar 2020                                                                                        Starting Balance            $44.76       $1,710.20      -$1,665.44
   Mar 2020       $559.40       $285.03      $274.37        $0.00             $0.00       $0.00                               $604.16       $1,995.23      -$1,391.07

   Apr 2020        $0.00        $285.03     -$285.03        $0.00             $0.00       $0.00                               $604.16      $2,280.26       -$1,676.10

   May 2020       $279.70       $285.03        -$5.33       $0.00             $0.00       $0.00                              $883.86        $2,565.29      -$1,681.43

   Jun 2020      $293.03        $285.03        $8.00        $0.00             $0.00       $0.00                              $1,176.89     $2,850.32       -$1,673.43

   Jul 2020      $293.03        $285.03        $8.00        $0.00             $0.00       $0.00                             $1,469.92       $3,135.35      -$1,665.43

   Aug 2020      $586.06        $285.03      $301.03     $1,361.07            $0.00    $1,361.07   METLIFE AUTO & HOME        $694.91      $3,420.38       -$2,725.47

   Sep 2020      $293.03        $285.03        $8.00        $0.00      $1,408.91      -$1,408.91   METLIFE AUTO & HOME        $987.94      $2,296.50       -$1,308.56

   Oct 2020      $293.03        $285.03        $8.00     $2,203.96       $2,011.47      $192.49    BOONE COUNTY (A)(S)       -$922.99        $570.06       -$1,493.05

   Nov 2020      $293.03        $285.03        $8.00        $0.00             $0.00       $0.00                              -$629.96        $855.09       -$1,485.05

   Dec 2020      $293.03        $285.03        $8.00        $0.00             $0.00       $0.00                              -$336.93       $1,140.12      -$1,477.05

   Jan 2021      $879.09        $285.03      $594.06        $0.00             $0.00       $0.00                               $542.16       $1,425.15       -$882.99
   (estimate)

   Feb 2021      $293.03        $285.03        $8.00        $0.00             $0.00       $0.00                               $835.19       $1,710.18       -$874.99
   (estimate)

   Totals       $4,355.46    $3,420.36       $935.10     $3,565.03     $3,420.38        $144.65




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   reserved. NMLSR ID 399801 9/19
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